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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:19-CV-2381-LTB-MEH

  WALTER CHARNOFF,

  Plaintiff,

  v.

  NANVY LOVING d/b/a
  ARTSUITE NY, et al.,

  Defendants.


        PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
                   SETTLEMENT AND DISMISSAL DOCUMENTS


          Plaintiff Walter Charnoff (“Plaintiff”) by and through his counsel Tueller & Gibbs, LLP

  submits this Unopposed Motion for Extension of Time to File Settlement and Dismissal

  Documents (“Motion”) pursuant to D.C. COLO. LCivR 6.1 and states as follows:

          1.     The deadline to file settlement and dismissal documents is February 26, 2021.

          2.     Counsel for Plaintiff is in the process of coordinating with opposing counsel on the

  settlement terms.

          3.     Counsel for Plaintiff and Defendants have communicated by email and it is

  understood that Defendants do not object to a two-week extension of time to complete the

  settlement and dismissal agreement.

          4.     The Parties have made substantial progress in the settlement of this case and

  anticipate reaching a final resolution by Monday, March 1, 2021. The Parties are requesting a

  two-week extension in an abundance of caution.

          5.     Accordingly, Plaintiff request an extension up to and including March 12, 2021 to
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  file the Settlement and Dismissal Documents.


         Respectfully submitted this 26th day of February, 2021.



                                                   TUELLER & GIBBS, LLP

                                                  s/ Benjamin E. Tracy
                                                  Benjamin E. Tracy
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                                                  Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE

      I hereby certify that on the date set forth below a copy of the foregoing PLAINTIFF’S
  MOTION FOR EXTENSION OF TIME TO FILE SETTLEMENT AND DISMISSAL
  DOCUMENTS was served via EC.

  Dated: February 26, 2021



                                                          s/ Vanessa S. Maddalena
                                                          Vanessa S. Maddalena
                                                          Paralegal
